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United States Bankruptcy Court for the:

District of SO

uth Carolina

Case number (if known)

(State)

Chapter 11

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Page 1 of 11

[-] Check if this is
an amended
filing

06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more Information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is avallable.

1. Debtor’s name

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer

Identification Number (EIN) a

4. Debtor’s address

Famulus Health, LLC

Principal place of business

20 Towne Drive

Malling address, If different from principal place
of business

5. Debtor’s website (URL)

Official Form 201

Number Street Number Street

Suite 301
P.O. Box

Bluffton Sc 29910

City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business

Beaufort

County
Number Street
City State ZIP Code

https:/Awww.famulushealth.com

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Debtor Famulus Health, LLC Case number (if known)

Nate

Xx Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
CJ Partnership (excluding LLP)

CJ Other. Specify:

6. Type of debtor

A. Check one:
7, Describe debtor’s business

CT] Health Care Business (as defined in 11 U.S.C. § 101(27A))
CF Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CJ Railroad (as defined in 11 U.S.C. § 101(44))

CT Stockbroker (as defined in 11 U.S.C. § 101(53A))

CO Commodity Broker (as defined in 11 U.S.C. § 101(6))

O Clearing Bank (as defined in 11 U.S.C. § 781(3))

X] None of the above

B. Check ail that apply:

_] Tax-exempt entity (as described in 26 U.S.C. § 501)

CT Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)
O Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htipv/Mwwww.uscourts.qow/four-digit-national-associalion-naics-codes .

4 2 4 2

8. Under which chapter of the Check one:
Bankruptcy Code is the

debtor filing? CL] Chapter 7

CJ] chapter 9

XX] Chapter 11. Check al that apply:

A debtor who is a “small business . . . : :
debtor’ must check the first sub- [|The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
box. A debtor as defined in aggregate noncontingent liquidated debts (excluding debts owed to insiders or
§ 1182(1) who elects to proceed affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
under subchapter V of chapter 11 recent balance sheet, statement of operations, cash-flow statement, and federal
(whether or not the debtor is a income tax return or if any of these documents do not exist, follow the procedure in
“small business debtor") must 11 U.S.C. § 1116(1)(B).
Sc eo Saas. [_]The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate

noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Ca plan is being filed with this petition.

[_]Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C] The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Atfachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

Cc The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2,

Oo Chapter 12

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Debtor Famulus Health, LLC

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Case number (if known)

Name

9. Were prior bankruptcy cases [X] No

filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

District When Case number

Yes.
MM /DD/YYYY

District When Case number

MM/DD/YYYY

10. Are any bankruptcy cases DI No

pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

11, Why is the case filed in this
district?

Yes. Debtor Relationship
District When
MM/DD/YYYY
Case number, if known
Check ail that apply:

X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

L] A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

EX] No

CJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed,
Why does the property need immediate attention? (Check ail that apply.)

CT It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C] It needs to be physically secured or protected from the weather.

C It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C] Other

Where is the property?

Number Street

City State ZIP Code

Is the property insured?

] No

CF] Yes. Insurance agency

Contact name

Phone

iy Statistical and administrative information

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
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Debtor Famulus Health, LLC

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Case number (if known)

Narn

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

Check one:

Funds will be available for distribution to unsecured creditors.

Cc After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

100-199
200-999

$0-$50,000
$50,001-$100,000

Xl
C]
Co
LC]
C]
[1] $100,001-$500,000
C]
LJ
LJ
L]
wy

$500,001-$1 million

$0-$50,000
$50,001-$100,000
$100,001-$500,000
$500,001-$1 million

|] 1,000-5,000
5,001-10,000
40,001-25,000

$1,000,001-$10 million

$50,000,001-$100 million

$100,000,001-$500 million

|
[]
[|
|_| $10,000,001-$50 million
DX]
L]

$1,000,001-$10 million
$10,000,001-$50 million
[_] $50,000,001-$100 million
[] $100,000,001-$500 million

[] 25,001-50,000
[] 50,001-100,000
[-] More than 100,000

LJ $500,000,001-$1 billion

[_] $1,000,000,001-$10 billion

[-] $10,000,000,001-$50 billion
More than $50 billion

L]

[_] $500,000,001-$1 billion
L_] $1,000,000,001-$10 billion
{_] $10,000,000,001-$50 billion
[]™ More than $50 billion

al Request for Relief, Declaration, and Signatures
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

tition.
debtor pemep

| have been authorized to file this petition on behalf of the debtor.

I have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 06/03/2024
MM/DD/YYYY

x Ly? f 2

Michael Szwajkos

Signature of authorized reprabertenve of debtor Printed name

Title Manager

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Debtor Famulus Health, LLC

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Name

18, Signature of attorney

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* /s/ Kevin Campbell

Case number (if known)

Signature of attorney for debtor

Kevin Campbell

Date 06/03/2024

MM/DD/YYYY

Printed name

Campbell Law Firm, P.A.

Firm name

890 Johnnie Dodds Blvd.

Number Street

Mt. Pleasant

SC 29464

City
843-884-6874

Contact phone

0030

State ZIP Code

kcampbell@campbell-law-firm.com

Email address

sc

Bar number

Voluntary Petition for Non-Individuals Filing for Bankruptcy

State

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UNITED STATES BANKRUPTCY COURT

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DISTRICT OF SOUTH CAROLINA

In re:
FAMULUS HEALTH, LLC,

Debtor.

LIST OF EQUITY SECURITY HOLDERS

Chapter 11

Case No. 24- =

Following is the list of the Debtor’s equity security holders which is prepared in accordance

with Federal Rule of Bankruptcy Procedure 1007(a)(3) for filing in this chapter 11 case:

Name and Address of Interest Holder Jy Be aed Percentage
Michael Szwajkos
5 Prospect Lane Class a 60.26%
Bluffton, SC 29909 membership interests
Goodroot
10 Front St. —e 24.36%
Collinsville, CT 06019 mremberstep/intenests
Michael Waterbury
20 Found Land Way 5.13%
Avon. CT 06001 membership interests
James Harper
5 Mills Lane oe 1.28%
Collinsville, CT 06019 membership interests
Jessica Rydel
114 Harvest Lane Class C 1.28%
Glastonbury, CT 06033 membership interests

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Erik Wallace Class C

90 Northington Drive niemibership interest 5.13%
Avon, CT 06001 P a

Michelle Frank Class C

648 Kettletown Rd. membership interests 2.56%
Southbury, CT 06488 P

I, Michael Szwajkos, the Manager of the above-captioned Debtor, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct

to the best of my information and belief.

Dated: June 3, 2024 Ly? Zz
Michael Szwajkos !
Manager

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JOINT WRITTEN CONSENT
OF
THE VOTING MEMBERS AND
THE MANAGER
OF

FAMULUS HEALTH LIMITED LIABILITY COMPANY

The undersigned, being all of the voting members (the “Members”) and the Manager of
Famulus Health Limited Liability Company, a South Carolina limited liability company (the
“Company”) by execution of this written consent, do hereby take the following actions and adopt the
following resolutions authorized thereby, as of May 22, 2024:

WHEREAS, the Members and the Manager consent to the adoption of the resolutions set forth
herein by written consent and to the taking of any and all actions by the Manager, the Company, and
representatives specifically set forth herein as in necessary or appropriate to give effect to such resolutions
and directs that his consent be placed in the minutes and records of the Company.

NOW, THEREFORE, BE IT

238908976.3

RESOLVED, that, in order to ensure a fiscally sound restructuring, the Members and
the Manager have determined that it is in the Company’s best interest for the Company
to file for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”), to be filed as and at such time as the Manager deems appropriate; and

RESOLVED, that the Manager and representatives of the Company are authorized to
proceed with the foregoing including preparation and filing of a voluntary petition for
relief under chapter 11 of the Bankruptcy Code for the Company, to be filed as and at a
time the Manager deems appropriate; and

RESOLVED, that the Manager is hereby specifically authorized: (i) to prepare and file
(or to have prepared and filed) on behalf of the Company a petition for relief under
chapter 11 of the Bankruptcy Code; (ii) to execute on behalf of the Company such
petitions, schedules and statements as he may deem necessary or appropriate in
connection therewith; and (iii) to execute such further documents and do such further
acts as the Manager may deem necessary or appropriate with respect to the foregoing,
or any of the other resolutions set forth herein, including the filing of any petition or
motion for relief under any other chapter of the Bankruptcy Code, the execution of any
document or the doing of any act by the Manager or his designees in connection with
such proceedings to be conclusively presumed to be authorized; and

RESOLVED, that the law firm of Loeb & Loeb LLP be, and hereby is, retained as
attorneys for the Company to advise the Company in connection with the foregoing
chapter 11 bankruptcy filing, subject to approval (for services rendered after the filing

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of a bankruptcy petition) of the Bankruptcy Court, and the retention of Loeb & Loeb
LLP.to perform all services rendered to date in aid of the Company’s prospective chapter
11 filing and otherwise is hereby ratified in all respects; and

The undersigned further certify that the foregoing resolutions are in full force and effect on the date

hereof as resolutions duly adopted by the Members and the Manager and have been in full force and
effect at all times subsequent to their adoption, not having been amended, repealed or modified.

[remainder of page intentionally blank]

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IN WITNESS WHEREOF, the undersigned have executed this certificate, as of the date
written above.

VOTING MEMBERS:

Mike Sawapleas
Michael Szwajkos

Midvarl Waterury

Michael Waterbury

MANAGER:

Nuke Swaps
Michael Szwajkos

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF SOUTH CAROLINA

In re: Chapter 11
FAMULUS HEALTH, LLC, Case No. 24- ~

Debtor.

CORPORATE OWNERSHIP STATEMENT PURSUANT TO
FEDERAL RULE OF BANKRUPTCY PROCEDURE 1007(a)(1) AND 7007.1

Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
Famulus Health, LLC the above-captioned debtor and debtor in possession, (the “Debtor’”)
respectfully represents that Goodroot, Inc. owns greater than 10% of its membership interests.

I, Michael Szwajkos, the Manager of the above-captioned Debtor, declare under penalty of
perjury that I have read the foregoing Corporate Ownership Statement Pursuant to Federal Rule
of Bankruptcy Procedure 1007(a) and 7007.1 and that it.is true and correct to the best of my

information and belief.

Dated: June 3, 2024 Ly? Zz

Michael Szwajkos |
Manager

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